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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                            SOUTHEASTERN DIVISION

AUTO-OWNERS INSURANCE COMPANY,                     )
                                                   )
       Plaintiff,                                  )      Case No: 1:19-CV-00066-SNLJ
                                                   )
v.                                                 )
                                                   )
BLAIR LEASING, LLC,                                )
                                                   )
      Defendant.                                   )
____________________________________/              )
                                                   )
BLAIR LEASING, LLC,                                )
                                                   )
       Counter-Plaintiff,                          )
                                                   )
v.                                                 )
                                                   )
AUTO-OWNERS INSURANCE COMPANY,                     )
                                                   )
      Counter-Defendant.                           )
____________________________________/              )

              DEFENDANT/COUNTER-PLAINTIFF’S STATEMENT OF
            UNCONTROVERTED MATERIAL FACTS IN SUPPORT OF ITS
                MOTION FOR PARTIAL SUMMARY JUDGMENT

       COMES NOW Defendant/Counter-Plaintiff Blair Leasing, LLC (“Blair Leasing”), by

and through its counsel of record, and pursuant to Federal Rule of Civil Procedure 56 and Local

Rule 4.01(E), submits this Statement of Uncontroverted Material Facts in Support of its Motion

for Partial Summary Judgment against Plaintiff/Counter-Defendant Auto-Owners Insurance

Company (“Auto-Owners”):

       1.      Auto-Owners Insurance Company (“Auto-Owners”) insured Blair Leasing under

a policy of commercial property insurance, Policy No. 144605-74848703-16, with effective
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dates of April 15, 2016 to April 15, 2017 (the “policy”). Auto-Owners’ Statement of

Uncontroverted Facts, ¶ 1 [Doc. 46] & Insurance Policy [Doc. 46-1].

       2.     The Policy provides first party commercial property coverage on certain buildings

located at 1507 and 1515 Independence Street, Cape Girardeau, Missouri 63703 (the “insured

property”). Insurance Policy [Doc. 46-1] & Compl. For Decl. J., ¶ 7 [Doc. 1].

       3.     Blair Leasing’s premium amount for the policy totaled $23,894.00, and this

premium was paid to Auto-Owners. Insurance Policy, p. 1 [Doc. 46-1].

       4.     The insured property consists of eight buildings. Exhibit 1, Nov. 10, 2017 Report

of Carl Martin, P.E., BLAIR LEASING 000050.

       5.     The policy issued by Auto-Owners to Blair Leasing included the following

provision:




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Insurance Policy, p. 82 [Doc. 46-1].

       6.     Merriam-Webster defines “abrupt” as “characterized by or involving action or

change without preparation or warning : sudden and unexpected.” Exhibit 2, “Abrupt,”

Merriam-Webster Online Dictionary, https://www.merriam-webster.com/dictionary/abrupt

(Oct. 30, 2020).

       7.     On April 26, 2016, July 6, 2016, and August 12, 2016, wind and/or hailstorms hit

the insured property. Exhibit 3, Jan. 31, 2020 Report of Howard Altschule, pp. 51-54.

       8.     During the late-night hours of August 12, 2016 or the early morning hours of

August 13, 2016, a portion of the roof of Building A collapsed. Exhibit 4, Examination under

Oath of Francis Bader, 27:2-16; Exhibit 5, Examination under Oath of Deborah Burton, 39:14-

18.

       9.     The joists supporting the portion of Building A’s roof that collapsed in August of

2016 were rotted, and because they were rotted, Building A’s roof collapsed. Exhibit 6, W&C

First Report, Auto-Owners-00440.

       10.    Following Blair Leasing’s reporting of the collapse to Auto-Owners, on August

18, 2016 Auto-Owners assigned Wickizer & Clutter, Inc. to investigate Blair Leasing’s claim.

Exhibit 7, Aug. 18, 2016 Claim Note; Exhibit 6, W&C First Report, Auto-Owners-00440.

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         11.     Auto-Owners also assigned Lloyd Hoagenson, a Field Claim Representative and

employee of Auto-Owners, to internally adjust the claim on behalf of Auto-Owners. Exhibit 8,

Dep. of Lloyd Hoagenson, 11:4-5, 13:6-13, & 33:21-24.

         12.     Lloyd Hoagenson was the decision-maker as to whether insurance coverage

applied to Blair Leasing’s collapse claim. Id. at 34:23 – 35:4.

         13.     When asked whether he is taught to put the interests of insureds over the financial

interests of Auto-Owners, Lloyd Hoagenson testified, “We – We always, always, always look

for coverage and do our best to pay what we owe on claims. And we always, if there is a doubt,

we give the insured the benefit of the doubt.” Id. at 75:16-23.

         14.     On November 9, 2016, Lloyd Hoagenson noted in the claim file his possible

reasons for denial of Blair Leasing’s pending claim. He also noted the following: “I asked the

IA1 to go back and try to get more pictures of rotted decking and trusses so that we can bolster

our case for denial.” Exhibit 9, Nov. 9, 2016 Claim Note.

         15.     Prior to the August 2016 partial collapse of Building A’s roof, Francis Bader, an

individual who provided maintenance services on the property, did not notice any indication that

the roof was going to cave in. Exhibit 4, Examination under Oath of Francis Bader, 11:2-7 &

32:18-21.

         16.     Prior to the August 2016 partial collapse of Building A’s roof, Francis Bader

noticed that, over the span of “a couple of days,” water began leaking into the interior of Building

A and started to accumulate on the roof. Id. at 26:11 – 27:1 & 28:1-21.



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    “IA” refers to the Independent Adjuster, Wickizer & Clutter.

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       17.    When Francis Bader realized a hole existed in the roof of Building A on August

13, 2016, he observed water running out of the doors and running down the steps of the interior

portion of Building A. Id. at 28:22 – 29:12.

       18.    At the time of the August 2016 roof collapse, unfinished goods, including paper

goods, were stored in the room beneath the area of the collapse. Id.; Exhibit 10, Examination

under Oath of Ronald Unterreiner, 20:17-24.

       19.    The terms “decay” and “rot” are synonymous and interchangeable. Exhibit 8,

Dep. of Lloyd Hoagenson, 179:7-15.

       20.    Prior to the August 2016 collapse, the decayed joists supporting the roof were

covered with an insulation material, which prevented a visual inspection of the joists unless and

until the insulation was removed. Exhibit 11, Dep. of Carl Martin, P.E., 176:14-23.

       21.    Wickizer & Clutter reported to Auto-Owners that the work areas of the building

with the modified bitumen roof “have insulated ceilings on both floors.” Exhibit 6, W&C First

Report, Auto-Owners-00440.

       22.    Lloyd Hoagenson has no evidence that, prior to the August 2016 collapse of

Building A’s roof, Blair Leasing had knowledge of the existence of the decayed joists. Exhibit

8, Dep. of Lloyd Hoagenson, 186:11-25.

       23.    On November 28, 2016, Wickizer & Clutter reported to Auto-Owners, “The

insured advised they were not aware of any rotting until after the collapse.” Exhibit 12, W&C

Third Report, Auto-Owners-00418.




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                                        Respectfully submitted,

                                        /s/ J. Drew Houghton
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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 30th of October 2020, a true and correct copy of the
foregoing was served via CM/ECF upon:
BROWN & JAMES, P.C.
Bradley R Hansmann, Esq.
800 Market Street
Suite 1100
St. Louis, MO 63101
Email: bhansmann@bjpc.com
Attorney for Auto-Owners Insurance Company

                                               /s/ J. Drew Houghton
                                               J. Drew Houghton




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